                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:10-00065
                                                 )           JUDGE CAMPBELL
QUINCY MAURICE FUQUA                             )
VICTOR L. OWENS                                  )

                                             ORDER

       The Court held a status conference in this case on September 7, 2012. At the conference,

the Court extended the pretrial motion filing deadline for all parties to October 15, 2012.

       It is so ORDERED.



                                                     _________________________________
                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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